Debtor(s):                 Vickie Lynn Gulley                                                           Case Number:    18-31169

United States Bankruptcy Court for the WESTERN DISTRICT OF LOUISIANA

Chapter 13 Plan – Western District of Louisiana

      Check here if this is a modified plan.

      Check here if this is an amended plan.                                                           Reason for Amendment/Modification:
                                                                                           Debtor is amending the plan to remove the IRS from the plan as
       List below the sections that have been changed.                                                          no claim was filed.
       2.1/4.2/4.3/5.1


Part 1:        Notices

To Debtors:            This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                       indicate that the option is appropriate in your circumstances or that it is permissible in your judicial division. Plans that
                       do not comply with local rules and judicial rulings may not be confirmable.

                       In the following notice to creditors, you must check each box that applies.

To Creditors:          Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                       You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                       an attorney, you may wish to consult one.

                       If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                       confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                       Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                       Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                       The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                       plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                       will be ineffective if set out later in the plan.

1.1       The plan sets out Nonstandard Provisions in Part 9.                                                Included                Not Included
1.2       This Plan limits the amount of Secured Claims in 3.1 and/or 3.2 based on a Valuation               Included                Not Included
          of the Collateral for the claim.
1.3       This Plan avoids a Security Interest or Lien in Section 3.4.                                       Included                Not Included
1.4       This Plan cures or maintains a loan secured by the Debtor's Principal Residence in                 Included                Not Included
          3.1.
1.5       This Plan provides for the treatment of a Domestic Support Obligation in 4.3 and/or                Included                Not Included
          4.4.
1.6       This plan includes a claim that was either: (1) incurred within 910 days before the                Included                Not Included
          petition date and secured by a purchase money security interest in a motor vehicle
          acquired for the personal use of the debtor(s); or (2) incurred within 1 year of the
          petition date and secured by a purchase money security interest in any other thing of
          value in 3.3.

Part 2:        Plan Payments and Length of Plan

2.1 Debtor(s) will make regular payments for a total of 60 months to the trustee as follows:

      If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to
      creditors specified in this plan.

        Original Plans. $ per month for months, and
      $ .00      per        for month      months.
      $      per        for       months.

         Modified Plans. $ 550.00             has been paid in for the first 11   months; then
      $ 100.00      per month                  for   1     months, and
      $ 275.00      per month                  for 48        months.

Revised 01/25/2018                                                       Chapter 13 Plan                                                             Page 1
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                18-31169 - #41 File 06/20/19 Enter 06/20/19 16:24:26 Main Document Pg 1 of 5
Debtor(s):       Vickie Lynn Gulley                                                                 Case Number: 18-31169

     $          per          for          months.

         Check one: The applicable commitment period is: 36 months (Below Median Income)
                                                         60 months (Above Median Income)

2.2 Regular payments to the trustee will be made from future income in the following manner:

            Debtor(s) will make payments pursuant to a payroll deduction unless otherwise excused by the Chapter 13 Trustee or the Bankruptcy
            Court.

     Income tax refunds. During the pendency of this case debtor(s) shall file both Federal and State Income Tax Returns timely and provide copies
     of same to the Standing Chapter 13 Trustee immediately upon filing of each annual return.

     Debtor(s) will pledge income tax refunds as follows:

      n/a

2.3 Additional Payments. (In addition to 2.1 above)
    Check one.

                  None. If “none” is checked, the rest of § 2.3 need not be completed or reproduced.
                  Debtor(s) pledge 50 percent (or until all allowed unsecured claims are paid in full) of the net recovery from all causes of action,
                  liquidated or unliquidated, unless otherwise ordered by the Court after a notice and a hearing. In all cases in which the debtor has
                  acquired/acquires a pre-petition or post-petition cause of action, the employment and compensation of special counsel, and the
                  compromise of any claim, shall be approved by the Bankruptcy Court pursuant to 11 U.S.C. §§ 327-329, and the filing of such
                  pleading shall be noticed on all parties.
                  Debtor(s) will make additional payment(s) to the trustee from other sources, including the sale of property, as specified below.
                  Describe the source, amount, and date of each anticipated payment.



Part 3:        Treatment of Secured Claims

3.1 A. Maintenance of payments and cure of default of Principal Residence under 1322(b)(3), including post-petition default payments, if
     any

     Check one.

                  None. If "None" is checked, the rest of § 3.1 need not be completed or reproduced.


     B. Maintenance of payments and cure of default other than Principal Residence under 1322(b)(3), including post-petition default
        payments, if any.

     Check one.

                  None. If "None" is checked, the rest of § 3.1 need not be completed or reproduced.

3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims

     Check one.

                  None. If "None" is checked, the rest of § 3.2 need not be completed or reproduced.

     The remainder of this paragraph will be effective only in the applicable box in Part 1 of this plan is checked.

                  The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured claim
                  listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of secured
                  claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof
                  of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the
                  value of the secured claim will be paid in full with interest at the rate stated below. If relief from the automatic stay is ordered as to
                  any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all payments under this paragraph as to
                  that collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan.

                  The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of

Revised 01/25/2018                                                    Chapter 13 Plan                                                                  Page 2
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                18-31169 - #41 File 06/20/19 Enter 06/20/19 16:24:26 Main Document Pg 2 of 5
Debtor(s):       Vickie Lynn Gulley                                                                    Case Number: 18-31169

                  this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in
                  its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor’s total
                  claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.

                  The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the
                  property interest of the debtor(s) or the estate(s) until the earlier of:

                  (a) payment of the underlying debt determined under nonbankruptcy law, or (b) discharge of the underlying debt under 11 U.S.C. §
                  1328, at which time the lien will terminate and be released by the creditor. See Bankruptcy Rule 3015.

      Name of Creditor             Estimated                Collateral Description       Value of       Amount of          Interest      Estimated avg.
                                   Amount of                                             Collateral     Secured Claim      Rate          monthly payment
                                   Creditor's total                                                                                      to creditor
                                   Claim
      Tower Loan                   $750.00                  moveables                       $750.00           $750.00       4%                         $13.81
      Westlake                     $7,500.00                2013 Honda Accent              $7,500.00         $7,500.00      6.75%                     $147.63
      Financial                                             200000 miles

3.3 Secured claims excluded from 11 U.S.C. § 506. (11 U.S.C. §1325(a) - 910 day Car Claim or 365 day Personal Property)

     Check one.

                  None. If "None" is checked, the rest of § 3.3 need not be completed or reproduced.



3.4 Lien avoidance

     Check one.

                  None. If "None" is checked, the rest of § 3.4 need not be completed or reproduced.



3.5 Surrender of Collateral

     Check one.

                  None. If "None" is checked, the rest of § 3.5 need not be completed or reproduced.

                  The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request that
                  upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301
                  be terminated in all respects. Any allowed unsecured claim resulting from the surrender of the collateral will be treated in Part 5
                  below.

      Name of Creditor                                               Collateral                                             Value
      Citizens Progr Bk                                              1997 Olds Mobile Cutlass                               $1,000.00


Part 4:        Treatment of Fees and Priority Claims

4.1 General

     Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.4, will be paid in full
     without post-petition interest.

4.2 Administrative fees

      Counsel elects the standing order “no look” fee                  Yes                     No

     Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be ten percent of plan payments.




Revised 01/25/2018                                                           Chapter 13 Plan                                                            Page 3
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                18-31169 - #41 File 06/20/19 Enter 06/20/19 16:24:26 Main Document Pg 3 of 5
Debtor(s):       Vickie Lynn Gulley                                                                   Case Number: 18-31169

     The debtor(s) attorney is awarded a fee in the amount of $ 2,350.00 of which $ 2,350.00 is due and payable from the bankruptcy
     estate. Included in this amount is a fee in the amount of $ 0 for the modification. Fees are limited to the appropriate “No Look” fee amount
     or the allowed amount subject to a formal fee application.

4.3 Priority claims other than attorney’s fees and those treated in § 4.4.

     Check one.

                  None. If "None" is checked, the rest of § 4.3 need not be completed or reproduced.



                  The debtor estimates the total amount of other priority claims to be as follows:.



Domestic Support Obligations prepetition arrears other than those provided for in 4.4 below shall be disbursed by the Trustee:
    Claimant                                     Nature of Claim                                             Amount
    -NONE-

     Ongoing Domestic Support Obligations shall be disbursed by debtor.

     All other unsecured priority claims including tax claims shall be disbursed by the trustee as follows:
     Claimant                                     Nature of Claim                                                Amount


4.4 Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount

     Check one.

                   None. If "None" is checked, the rest of § 4.4 need not be completed or reproduced.

Part 5:        Treatment of Non-priority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified.

     Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. Unscheduled nonpriority unsecured debts to which
     a timely proof of claim is filed will be allowed, unless objected to. All non-priority debts on schedule E/F, and unsecured and undersecured
     debts on schedule D, are incorporated herein by reference.

     Based upon the scheduled unsecured and undersecured claims in the amount of $1,902.00, it is anticipated unsecured creditors will be paid
     approximately $178.99, which is approximately 0.00 percent of their respective claims. However, the amount paid on any claim may vary
     depending on the actual filed and allowed claims.

     If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid no less than $0.00. Regardless of the
     options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2 Other separately classified nonpriority unsecured claims.

     Check one.

                 None. If "None" is checked, the rest of § 5.2 need not be completed or reproduced.


Part 6:        Executory Contracts, Unexpired Leases, and Unmodified Secured Debts paid per contract

6.1 The executory contracts, unexpired leases, and Unmodified Secured Debts paid per contract listed here are assumed and will be treated
    as specified. All other executory contracts and unexpired leases are rejected.

     Check one.

                None. If "None" is checked, the rest of § 6.1 need not be completed or reproduced.

Part 7:        Vesting of Property of the Estate
Revised 01/25/2018                                                    Chapter 13 Plan                                                            Page 4
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                18-31169 - #41 File 06/20/19 Enter 06/20/19 16:24:26 Main Document Pg 4 of 5
Debtor(s):       Vickie Lynn Gulley                                                              Case Number: 18-31169


7.1 Property of the estate will vest in the debtor(s) upon entry of discharge or dismissal.

Part 8:        Other Plan Provisions

8.1 Adequate Protection Payments:

     Debtor(s) shall pay adequate protections payments and/or lease payments as scheduled below to the trustee. If the case is dismissed
     pre-confirmation the trustee shall disburse these adequate protection payments to the creditor, one for each plan payment received
     while the case was pending.

      Creditor                                                                           Adequate Protection Payment
      Westlake Financial                                                                 $73.82

8.2 Changed Circumstances.

     Debtor(s) shall fully and timely disclose to the trustee any change in income, marital status, domestic support obligation, employment,
     address, or financial recovery to which debtor(s) become entitled, including without limitation, claims for personal injury, employment,
     worker’s compensation, unemployment compensation, inheritance, life insurance, lottery proceeds, or property settlements. These
     funds shall be treated upon motion by trustee, debtor(s), or any party in interest.

Part 9:        Nonstandard Plan Provisions

          None. If "None" is checked, the rest of Part 9 need not be completed or reproduced.

     Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included
     in the Official Chapter 13 Plan Form for the Western District of Louisiana or deviating from it. Nonstandard provisions set out elsewhere in this
     plan are ineffective.

     The following plan provisions will be effective only if there is a check in the box “Included” in § 1.1.


The debtor(s) attorney is reimbursed for an administrative claim in the amount of $250.00 pursuant to 11 U.S.C. 503 (b), for
cost associated with noticing out pleadings for the duration of the bankruptcy case.

Part 10:           Signatures

/s/ E. Orum Young III                                                       Date:      June 20, 2019
E. Orum Young III 36099
Signature of Attorney for Debtor(s)




Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise optional)

By filing this document, the Attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also certify(ies) that the
wording and order of the provisions in this Chapter 13 Plan are identical to those contained in Official Chapter 13 Plan Form for the
Western District of Louisiana, other than any nonstandard provisions included in Part 9.




Revised 01/25/2018                                                   Chapter 13 Plan                                                             Page 5
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                18-31169 - #41 File 06/20/19 Enter 06/20/19 16:24:26 Main Document Pg 5 of 5
